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                                      1   Kresta Nora Daly, SBN 199689
                                          BARTH DALY LLP
                                      2   2810 Fifth Street
                                          Davis, California 95618
                                      3   Telephone: (916) 440-8600
                                          Facsimile: (916) 440-9610
                                      4   Email: kdaly@barth-daly.com
                                      5   Attorneys for Defendant
                                          RICARDO GABRIELE-PLAGE
                                      6

                                      7                                    IN THE UNITED STATES DISTRICT COURT

                                      8                               FOR THE EASTERN DISTRICT OF CALIFORNIA

                                      9

                                     10   UNITED STATES OF AMERICA,                                Case No. 2:17-CR-00225-TLN
                                     11                       Plaintiff,
                                                                                                   STIPULATION AND ORDER
                                     12            v.
                                     13   RICARDO GABRIELE-PLAGE,
B ARTH D ALY LLP
               A TTORNEYS A T L AW




                                     14                       Defendants.

                                     15
                                                   It is hereby stipulated and agreed to between the United States of America through Brian
                                     16
                                          Fogerty, Assistant United States Attorney and defendant Ricardo Gabriele-Plage through his
                                     17
                                          counsel, Kresta Daly, that:
                                     18
                                                   1.         By previous order, this matter was set for a status conference on May 23, 2019.
                                     19
                                                   2.         By this stipulation, defendants now seek to move the status hearing to May 30,
                                     20
                                          2019. The defendant seeks to exclude time under Local Code T4. Plaintiff does not oppose this
                                     21
                                          request.
                                     22
                                                   3.         The parties stipulate and request the Court make the following findings:
                                     23
                                                              (a)     The reason for the continuance is to allow the defense time to investigate,
                                     24
                                          review discovery and examine possible defenses.
                                     25
                                                              (b)     Counsel for the defendant believes that failure to grant the above-requested
                                     26
                                          additional time would deny the defense reasonable time necessary for effective preparation,
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                                          taking into account due diligence.
                                     28
                                          {00028332}                                          -1-
                                                       STIPULATION AND ORDER                                          [Case No. 2:17-CR-00225-TLN]
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                                      1                    (c)     The government does not object to a continuance.
                                      2                    (d)     Based on the above-stated findings the ends of justice served by continuing
                                      3   the case outweigh the interests of the public and the defendants in a Speedy Trial.
                                      4                    (e)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
                                      5   § 3161, et seq., within which trial must commence, the time period of May 23, 2019 through
                                      6   May 30, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)
                                      7   [Local Code T4].
                                      8                    (f)     Nothing in this stipulation and order shall preclude a finding that other
                                      9   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
                                     10   period.
                                     11             IT IS SO STIPULATED.
                                     12
                                          Dated: May 14, 2019.               Respectfully submitted,
                                     13
B ARTH D ALY LLP
               A TTORNEYS A T L AW




                                     14                                             By     /s/ Kresta Nora Daly
                                                                                           Kresta Nora Daly
                                     15                                                    Attorneys for Ricardo Gabriele-Plage
                                     16
                                          Dated: May 14, 2019.                      By     /s/ Kresta Nora Daly for
                                     17                                                    Brian Fogerty
                                                                                           Assistant United States Attorney
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                                          STIPULATION AND [PROPOSED] ORDER               -2-                                  [Case No. 2:17-CR-00225-TLN]
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                                      1                                                 ORDER
                                      2            The Court, having received, read and considered the stipulation of the parties, and good
                                      3   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. The
                                      4   Court specifically finds that the failure to grant a continuance in this case would deny counsel
                                      5   reasonable time necessary for effective preparation, taking into account the exercise of due
                                      6   diligence. The Court finds that the ends of justice to be served by granting the requested
                                      7   continuance outweigh the best interests of the public and defendant in a speedy trial. The Court
                                      8   orders that the time from the date of the parties’ stipulation, up to and including May 30, 2019,
                                      9   shall be excluded from computation of time within which the trial of this case must be
                                     10   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) T4
                                     11   (reasonable time for counsel to prepare) as to all defendants. It is further ordered that the May 23,
                                     12   2019 status conference shall be continued until May 30, 2019, at 9:00 a.m.
                                     13
B ARTH D ALY LLP
               A TTORNEYS A T L AW




                                     14   Dated: May 15, 2019
                                     15                                                          Troy L. Nunley
                                                                                                 United States District Judge
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                                                       STIPULATION AND ORDER                                       [Case No. 2:17-CR-00225-TLN]
